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Exhibit 2

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Attorney: SPEIGHTS, DANIEL A
Law Firm: SPEIGHTS & RUNYAN

Claim Number: 11668
Claimant: HAMILTON DISTRICT SCHOOL BOARD,

As descnbed below, cerlain questions on the Asbestos Property Damage Proof of
Claim Form require the claimant fo provide documents. On the Claim Form identified
above, the following checked questions were not answered or were not responded to

properly, for the reason(s} stated:

c iciaim: O Category t Comments:
16. Documents relating to the purchase and/or installation of the product in the property.

No documents were provided.
L Documents provided are insufficient because:

18. Documents concerning when the claimant first knew of the presence of asbestos in

the property.
Prope No documents were provided.

4 Documents provided are insufficient because:

they fail to indicate either expressly or from the nature or context of the
document, when the claimant first knew of the presence of asbesics in the

property.
22. Documents concerning efforts to remove, contain and/or abate the Grace product.
J No documents were provided.
OC Documents provided are insufficient because:

26. Documents conceming testing or sampling for asbestos in the property.
© No documents were provided.
M4 Documents provided are insufficienl because:

building air sample results were not included.

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